Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page1of11 Pageid#: 5

 

COMMONWEALTH of VIRGINIA

Secretary of the Commonwealth
POST OFFICE BOX 2454 RICHMOND, VIRGINIA 23218-2454

NOTICE OF SERVICE OF PROCESS

Ethier, Denis 7/3/2018
1001 Ruesandra
Saint-Jerome, JSL2K2 Canada

V Trust Carriers Inc
VS.

Ethier, Denis

Summons and Complaint

Dear Sir/Madam:

You are being served with the enclosed notice under section 8.01-329 of the Code of Virginia
which designates the Secretary of the Commonwealth as statutory agent for Service of Process.

If you have any questions about the matter, PLEASE contact the CLERK of the enclosed/below
mentioned court or any attorney of your choice. Our office does not accept payments on behalf
of debts. The Secretary of the Commonwealth's ONLY responsibility is to mail the enclosed
papers to you.

COURT:

Rockbridge County Circuit Court
20 South Randolph Street, Suite 101
Lexington, VA 24450

Service of Process Cle

Secretary of the Commonwealth's
Office
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 2of11 Pageid#: 6

COMMONWEALTH OF VIRGINIA

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SUMMONS -— CIVIL ACTION Case No. ...CL18000406-00

RULE 3:5; VA. CODE § 8.01-2

ROCKBRIDGE COUNTY CIRCUIT COURT

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~ ADDRESS
TO:
ETHIER, DENIS
1001 RUESANDRA

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The party upon whom this summons and the attached complaint-are served is hereby notified that unless:
within 21 days after such service, response is made by filing in the clerk’s office of this court a pleading
in writing, in proper legal form, the allegations and charges may be taken as admitted and the court may
enter an-order, judgment or decree against such party either by default or after hearing evidence.

Appearance in person is not required by this summons.

Done in the name of the Commonwealth of Virginia.

 

 

sein AAY 21, 2018 MICHELLE M. TROUT Clerk
DATE , ——
by -_Gpsedl eed,
DEPUTY CLERK

 

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FORM CC-H00 MASTER 10/13
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 3o0f11 Pageid#: 7

VIRGINIA:
IN THE ROCKBRIDGE COUNTY CIRCUIT COURT

V TRUST CARRIERS INC

 

Plaintiff,
ve
CASE NO: CLI S000400-00
DENIS ETHIER :
1001 Ruesandra,
Saint-ferome, Canada ‘
JSL2K2 :
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PAPINEAU INTERNATIONAL SEC ' = “
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Saint Laurent, Canada my :
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Served via Secretary of State

Defendants, :

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COMPLAINT
NOW COMES Plaintiff, V Trust Carrier Inc, by counsel, and files this Complaint against
the defendants Denis Ethier, Papineau International SEC (“Defendants”) on the grounds and
amounts as hereinafter set forth;
PARTIES
L. Plaintiff, V Trust Carrier Inc. is an inois corporation with principal offices at 1118N

Dale Avenue, apt | G, Arlington Heights, {L 60004.

|
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 4of11 Pageid#: 8

Upon information and belief, Defendant Denis Ethier (“Defendant Ethier’) is a resident
of Saint-Jerome, Canada,

Upon information and belief, Defendant Papineau International SEC (“Defendant
Papineau”) is a Canadian corporation with principal offices at 8585 RTE

Transcandaienne #300, Saint Laurent, Canada H4S1Z6,

SUMMARY OF THE CASE
Plaintiff incorporates by reference all of the allegations in this Complaint as if fully stated
herein,
On or about September 20, 2017, Plaintiff's employee Denis Ethier was operating
Plaintiffs 2007 Freightliner Truck while traveling northbound on I-81, Rockbridge
County, Virginia at the posted speed limit and while fully seatbeit restrained.
At the same time, Defendant Denis Ethiér was traveling in the same direction, operating
Defendant Papineau’s truck, driving in very close proximity to Plaintiff,
As Plaintiff's vehicle sstopped for auto vehicle accident on the route, Defendant failed to
stop and/or maintain contro! and/or pay required attention and caused collision crashing
into Plaintiff's vehicle,
At the time of the crash, Defendant Ethier was employed and acted in furtherance of the.
interests of his employers Defendant Papineau.
As the direct and proximate result of the negligent: conduct of the Defendant, Plaintiff
suffered substantial economic loss, property damages, incurred incidental consequential
damages, the effects of which last'to this day,

NEGLIGENCE (DEFENDANT ETHIER)

 
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 5of11 Pageid#: 9

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Plaintiff incorporates by reference all-of the allegations in this Complaint as if fully
stated herein.
Defendant Ethier owed Plaintiff the duty to, exercise reasonable care.in operating his
vehicle and breached that duty when he failed to operate the vehicle in a safe and
reasonably prudent manner and caused the crash with Plaintiff's vehicle. Defendant was
inattentive, failed to keep proper distance between the vehicles, followed too closely,
failed to give full time and attention, and drove too fast for the conditions.
All of the above damages were directly and proximately caused by the aforementioned
negligence of Defendant Ethier.
As a direct and. proximate result of this breach of duty and negligent conduct of the
Defendant Ethier and the resulting impact and collision, Plaintiff suffered and sustained
severe damages and significant economic loss, The aforementioned damages have.

causéd the Plaintiff to incur substantial incidental and consequential damages.

NEGLIGENCE (RESPONDEAT SUPERIOR)
(DEFENDANT PAPINEAU)

Plaintiff incorporates by reference all of the allegations in this Complaint as if fully stated
herein,
At all times relevant herein, Defendant Ethier was a driver of Defendant Papineau and was
acting within the course and scope of his employment,
At the. time of the crash, Defendant Ethier was operating the vehicle registered to and
owned by Defendant Papineau. | - | |
Defendants Papineau had acontro! or management of Defendant Ethier and the use of

company vehicle,
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 6of11 Pageid#: 10

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Defendant Ethier owed Plaintiff'a duty to exercise reasonable care in operation of his
vehicle and breached that duty when he failed to operate the vehicle in a safe and
reasonably prudent manner, -
Defendant Ethier owed Plaintiff a duty to exercise reasonable care in operation of his
vehicle and breached that duty when he followed PlaintifPs vehicle too closely,
Defendants Papineau is responsible for Defendant Ethier’s negligence through the
doctrine of respondeat superior.
As a direct and proximate result of Defendant Ethier’s breaches of duty and the resulting
impact and collision of Defendant Ethier’s vehicle with Plaintiff's vehicle, Plaintiff
suffered and sustained severe economic, incidental and consequential damages, as
outlined above.
Defendants Papineau had a duty to Plaintiff to act reasonably. «
Defendants Papineau, as the employer of Defendant Ethier and owner of the vehicle, had
the right to permit and the power to prohibit the use of company vehicle by Defendant
Ethier.
Defendants Papineau breached that duty.
As a direct and proximate cause of the negligence of Defendant Papineau, Plaintiff
suffered and sustained property damages, severe economic, incidental and consequential
damages, as outlined above.

NEGLIGENCE
Plaintiff incorporates by reference all of the allegations in this Complaint as it fully stated

herein.
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 7 of11 Pageid#: 11

27. Defendant owed Plaintiff the duty to exercise reasonable care in operating his vehicle and
breached that duty-when he failed to operate the vehicle in a safe and reasonably prudent
manner and caused the crash with Plaintiff's vehicle. Defendant was inattentive, failed to
keep proper distance between the vehicles, followed too closely, failed to give full time
and attention, and drove too fast for the conditions.

28, Asadirect and proximate result of this breach of duty and the resulting impact and
collision, Plaintiff suffered and sustained severe property damages. The aforementioned
damages have caused the Plaintiff to suffer economic loss, and other incidental and

consequential damages... .

WHEREFORE, Plaintiff requests judgment against Defendant in the sum of $300,000in
compensatory damages plus costs and any further relief this court deems proper and just included
pre and post judgment interest,

Plaintiff requests a trial by jury in the above referenced matter.

Respectfully bmitted,

 
    

 

“Tsai 7S Shahtakhtinski, Esq.
LS, LAW FIRM, PLLC
3930 Walnut Street, Suite 200
Fairfax, VA 22030

T: (703) 527-1779

F: (703) 778-0369

ismail@islawfirm.com
Counsel for Plaintiff

 
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 8of11 Pageid#: 12

AFFIDAVIT FOR SERVICE OF PROCESS ON THE Case NO. CL 18000406-00
SECRETARY OF THE COMMONWEALTH
Commonwealth of Virginia VA. CODE 8§ 8.01-301, -310, -329; 55-218.1; 57-51

Rockbridge County Circuit Court Circuit Court

V Trust Carriers Inc V Ethier, Denis ;
1118 N Dale Ave apt 1 G 1001 Ruesandra
Arlington Heights, IL, 60004 Saint - Jerome, Canada, JSL2K2

 

TO THE PERSON PREPARING THIS AFFIDAVIT: You must comply with the appropriate requirements listed on the back of this form.

 

 

 

Attachments: [*] Summons and Complaint [ ] Notice

 

 

I, the undersigned A ffiant, state under oath that
[x] the above-named defendant LE 1) seetessensneenssrernrnerroreramnescceneporennersssp suencesesseue peenaseatey ratapatunenceeasxon ene ent mer oreorenr eee sestanrameg ena
whose last known address is [x] same as — [J ccssseseessseeseesern
|. [x] is a non-resident of the Commonwealth of Virginia or a — cceprreellee sk Wingila: lode: § 8. ol 328, WA)
applies (see NON-RESIDENCE GROUNDS REQUIREMENT on page 2).

2. [ ] isa person whom the party seeking service, after exercising due diligence, has been unable to locate (see DUE DILIGENCE
REQUIREMENT ON BACK)
XX
is the FE date and time on the attached process or notice (if applicable).

 

 

 

 

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DATE [ ] PARTY Tet ak FORNEY [ ]PARTY’S AGENT [ ] PARTY'S REGULAR AND BONA FIDE EMPLOYEE
State of Vi Re Me a of FBO pegunty of ... Leng ig a lyse
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zis a = PRINT NAME Qf SIGNATORY
OG fez / 2018 23 cease 18: _
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ent

[ ] Verification by the clerk of court Gai ats, ofthe certificate of compliance is requested. A self-addressed stamped envelope was
provided to the clerk at the time we fi shin vanes

 

NOTICE TO THE RECIPIENT from the Office of the Secretary of the Commonwealth of Virginia:
You are being served with this notice and attached pleadings under Section 8.01-329 of the Code of Virginia which designates the Secretary
of the Commonwealth as statutory agent for Service of Process. The Secretary of the Commonwealth’s ONLY responsibility is to mail, by
certified mail, return receipt requested, the enclosed papers to you. If you have any questions concerning these documents, you may wish to
seek advice from a lawyer.

SERVICE OF PROCESS IS EFFECTIVE ON THE DATE WHEN SERVICE IS MADE ON THE SECRETARY OF THE COMMONWEALTH.

CERTIFICATE OF COMPLIANCE
I, the undersigned, Clerk in the Office of the Secretary of the Commonwealth, hereby certify the following:
i Hi | uid
| Diventiohubtin tn aclnhetanatonenan na eameraa , legal service in the above-styled case was made upon the Secretary of the
Commonwealth, as statutory agent for persons to be served in accordance with Section 8.01-329 of the Code of Virginia, as amended.

2, On. sues g Papers described in the Affidavit and a copy of this Affidavit were forwarded by
eurlified nal, setuctt reset “requested, | to 5 the party designated to be served with process in the Affidavit.

 

SERVICE OF PROCESS CLERK, DESIGNATED
BY THE AUTHORITY OF THE SECRETARY OF THE COMMONWEALTH

FORM CC-1418 (MASTER, PAGE ONE OF TWQ) 07/13
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 9of11 Pageid#: 13

AFFIDAVIF FOR SERVICE OF PROCESS ON THE Case NO. occ cece, £118000406-00

SECRETARY OF THE COMMONWEALTH
Commonwealth of Virginia VA, CODE §§ 8.01-301, -310, -329; 55-218. 1; 57-51

Rockbridge County Circuit Court Circuit Court

V Trust Carriers Ine Vv Ethier, Denis oo.
1118 N Dale Ave apt 1 G I cca anioneassinnscennone
Arlington Heights, IL, 60004 Me ee ee I acxsiiticsasnaimavcens

 

TO THE PERSON PREPARING THIS AFFIDAVIT: You must comply with the appropriate requirements listed on the back of this form.

 

 

 

Attachments: [«] Summons and Complaint [ ] Notice

 

 

I, the undersigned Affiant, state under oath that
[x] the above-named defendant []. ee
whose last known address is [x] same as adiues [ 1].
|. [x] is a non-resident of the Commonwealth of Cictelec? ora — npcrntllat anil ‘Vigil Code: § 8. o1- 328, A)
applies (see NON-RESIDENCE GROUNDS REQUIREMENT on page 2).
2. [ ] isa person whom the party seeking service, after exercising due diligence, has been unable to locate (see DUE DILIGENCE
REQUIREMENT ON BACK)
~N

 

is the hearing date and time on the attached process or notice (if applicable).

 

 

 

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DATE - by CACOTT FART ye ATTORNEY [ ] PARTY’S AGENT [_] PARTY'S REGULAR AND KONA FDI EMPLOYEE
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DATE 2% 10/31/2021 Ee [ IMCS $¢| NOTARY PUBLIC
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Ny,
[ ] Verification by the clerk of court ent el i Rho the certificate of compliance is requested. A self-addressed stamped envelope was
provided to the clerk at the time of filing this! NMigavit.

Acknowledged, subscribed snd eee iekare RG by by .. 4SMAr L ; Shah 1a

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NOTICE TO THE RECIPIENT from the Office of the Secretary of the Commonwealth of Virginia:
You are being served with this notice and attached pleadings under Section 8.01-329 of the Code of Virginia which designates the Secretary
of the Commonwealth as statutory agent for Service of Process. The Secretary of the Commonwealth’s ONLY responsibility is to mail, by
certified mail, return receipt requested, the enclosed papers to you. If you have any questions concerning these documents, you may wish to
seek advice from a lawyer.

SERVICE OF PROCESS IS EFFECTIVE ON THE DATE WHEN SERVICE IS MADE ON THE SECRETARY OF THE COMMONWEALTH.

 

CERTIFICATE OF COMPLIANCE
I, the undersigned, Clerk in the Office of the Secretary of the Commonwealth, hereby certify the following:

 

I]. On.,, 5 ee , legal service in the above-styled case was made upon the Secreta alii ”
Commonwealth, as s statutory ent for persons t to be served | in accordance with Section 8.01-329 of the Code of Virginia, -golls Broil,
rie fF * - A estcan! Ap,“
2. On. i i J) EO coscoseee ; papers described in the Affidavit and a copy of this amass yen satan “
certified ‘nail, 1 return a receipt equested, ‘8 the warty designated to be served with proces in the Affidavit. = ais REG # OS =
WY = Ei ~ 7737135 “a =
: 334 COMMISSION 3% =
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SERVICE OF PROCESS CLERK, DESIGNATED 4}, 21S s
BY THE AUTHORITY OF THE SECRETARY OF THE COMMONWEALTH, Mee NS =
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FORM CC-1418 (MASTER, PAGE ONE OF TWO) 07/13
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 10of11 Pageid#: 14

NON-RESIDENCE GROUNDS REQUIREMENT:
If box number / is checked, insert the appropriate subsection number:

A court may exercise personal jurisdiction over a person, who acts directly or by an agent, as to a cause of
action arising from the person’s:

1. Transacting any business in.this Commonwealth;

2. Contracting to supply services or things in this Commonwealth;

3. Causing tortious injury by an act or omission in this Commonwealth;

4. Causing tortious injury in this Commonwealth by an act or omission outside this Commonwealth if he
regularly does or solicits business, or engages in any other persistent course of conduct, or derives
substantial revenue from goods used or consumed or services rendered in this Commonwealth;

5. Causing injury in this Commonwealth to any person by breach of warranty expressly or impliedly made in
the sale of goods outside. this: Commonwealth when. he might reasonably have expected such person to
use, consume, or be affected by the goods in this Commonwealth, provided that he also regularly does or
solicits business, or engages in any other persistent course of conduct, or derives substantial revenue from
goods used or consumed or services rendered in this Commonwealth;

6. Having an interest in, using, or possessing real property in this Commonwealth;

7. Contracting to insure any person, property, or risk located within this Commonwealth at the time of
contracting;

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competent jurisdiction in this Commonwealth having i” personcim jurisdiction over such person; or

10. Having incurred a liability for taxes, fines, penalties, interest, or other charges to any political subdivision
of the Commonwealth.

DUE DILIGENCE REQUIREMENT:

If box number 2 is checked, the following provision applies:

When the person to be served is a resident, the signature of an attorney, party or agent of the person seeking
service on such affidavit shall constitute a certificate by. him that process has been delivered to the sheriff or to a
disinterested person as permitted by § 8.01-293 for execution and, if the sheriff or disinterested person was

unable to execute such service, that the person seeking service has been unable, after exercising due diligence,
to locate the person to be served.

FORM CC-14 F§ (MASTER, PAGE TWO-OF TWO) | 1/07
Case 6:18-cv-00074-NKM-RSB Document 1-1 Filed 08/02/18 Page 11o0f11 Pageid#: 15

NON-RESIDENCE GROUNDS REQUIREMENT:
If box number 1 is:checked, insert the appropriate subsection number:

A court may exercise personal jurisdiction over a person, who acts directly or by an agent, as to a cause of
action arising from the person’s:

1. | Transacting any business in this Commonwealth;
2. Contracting to supply services or things in this Commonwealth;.
3. Causing tortious injury by an act.or omission in this Commonwealth;

4. Causing tortious injury in this Commonwealth by an act or omission outside this Commonwealth if he
regularly does or solicits business, or engages in any other persistent course of conduct, or derives
substantial revenue from goods used or consumed or services rendered in this Commonwealth;

5. Causing injury in this Commonwealth to any person by breach of warranty expressly or impliedly made in
the sale of goods. outside this Commonwealth when he might reasonably tiave expected such person to
use, consume, or be affected by the goods in this Commonwealth, provided that he also regularly does or
solicits business, or engages in any other persistent course of conduct, or derives substantial revenue from
goods used or consumed or services rendered in this Commonwealth;

6. Having.an interest in, using, or possessing real property in this Commonwealth;

7. Contracting to insure any person, property, or risk located within this Commonwealth at the time of
contracting;

(ii). Having been ordered t
competent jurisdiction i

d to pay spousal support or child support pursuant to an order entered by any court of
in this Commonwealth having in personam jurisdiction over such person; or

10. Having incurred a liability for taxes, fines, penalties, interest, or other charges to any political subdivision
of the Commonwealth.

DUE DILIGENCE REQUIREMENT:

If box number 2 is checked, the following provision applies:

When the person to be served is a resident, the signature of an attorney, party or agent of the person seeking
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disinterested person as permitted by § 8.01-293 for execution and, if the sheriff or disinterested person was

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to. locate the person to be served.

FORM CC-1418 (MASTER, PAGE TWO OF TWO) 11/07
